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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

JEREMY SMITH,                                            )
                                                         )
                            Plaintiff,                   )
              v.                                         )No. 10-cv-05086
                                                         )Judge Charles R.
                                                         )Norgle, Jr.
OFFICER CREAMER, individually and in his                 )Courtroom 2341
official capacity, OFFICER KENNETH                       )
MULDROW, individually and in his official                )Mag. Judge Michael T.
capacity, WADE INGRAM, individually and in his           )Mason
official capacity as Chief of Police, UNKNOWN            )
OFFICERS, and CITY OF MARKHAM,                           )
                                                         )
                            Defendants.                  )

                               FIRST AMENDED COMPLAINT

       Now Comes the Plaintiff JEREMY SMITH and for his Complaint against
Defendants OFFICER CREAMER, individually and in his official capacity, OFFICER
KENNETH MULDROW, individually and in his official capacity, WADE INGRAM,
individually and in his official capacity as Chief Of Police, UNKNOWN OFFICERS,
individually and in their official capacity, and CITY OF MARKHAM, states the following:


                                    I. INTRODUCTION

       This action arises under the Fourth, Fifth and Fourteenth Amendments to the

United States Constitution; under federal law, specifically, 42 U.S.C. §§1983 and 1988;

under the Illinois common law for intentional infliction of emotional distress.

       While the individual Defendants were acting in the scope of their employment

and under color of law, they unlawfully stopped and searched Plaintiff, handcuffed him,

and seized his vehicle. The seizure deprived Plaintiff of his constitutional right to be

free from unreasonable search and seizure. The Plaintiff suffered mental anguish and

emotional distress. The unlawful stop, search, and seizure caused Plaintiff’s vehicle to
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be unlawfully towed and to incur damages of $550.00 (to pay for tow). No refund was

ever provided to Plaintiff.

        This action is also brought against WADE INGRAM, Chief Of Police and CITY

OF MARKHAM for their failure to properly train and supervise the individual Defendants

regarding the proper grounds for an investigatory stop, search, and seizure and their

establishment     of   policies,   procedures,    practices,   and   customs   regarding   an

investigatory stop, search, and seizure. Additionally, Officer Muldrow, Wade Ingram,

and the City Of Markham established a policy of causing citizen’s vehicles to be towed

without issuing tickets and without giving notice of charges and dispute procedures.

                                   II. JURISDICTION AND VENUE

       1.     This court has jurisdiction over the subject matter of this action pursuant to

       28 U.S.C. §§1331, 1343, and 1367, and venue is properly set in the United

       States District Court for the Northern District Of Illinois pursuant to 28 U.S.C.

       §1391.

       2.     The causes of action alleged herein arise from factual allegations

       occurring in this judicial district.

       3.     On information and belief, it is alleged that each of the named Defendants

       resides in this judicial district.

                                            III. PARTIES

       4.     The Plaintiff, JEREMY SMITH, is a citizen and resident of Cook County,

       IL.

       5.     Upon information and belief, the Defendant OFFICER CREAMER is a

       citizen and resident of Cook County, IL, and was at all times material to the
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  allegations in this Complaint, acting in his capacity as a Police Officer employed

  by the City of Markham, IL and was acting under color of law.

  6.     The Defendant OFFICER KENNETH MULDROW, is a citizen and resident

  of Cook County, IL and was, at all times material to the allegations in this

  Complaint, acting in his capacity as a Police Officer employed by the City of

  Markham, IL and was acting under color of law.

  7.     The Defendant WADE INGRAM, is a citizen and resident of Cook County,

  IL and was at all times material to the allegations in this Complaint, employed as

  the Chief Of Police by the City Of Markham, IL and is responsible for the

  supervision and training of the Defendants Officers CREAMER, MULDROW, and

  UNKNOWN OFFICERS.           Defendant WADE INGRAM, as the Chief of the

  Markham, IL Police Department, is further responsible for making and/or

  implementing policies and practices used by law enforcement officers employed

  by the City of Markham, IL regarding proper grounds for an investigatory stop,

  search, and seizure. Officer WADE INGRAM was responsible for establishing an

  unconstitutional and illegal policy of having citizen’s vehicles towed without

  issuing tickets specifying the nature of the alleged violation, dispute procedures,

  and the rights of the accused.

  8.     The Defendant CITY OF MARKHAM is a municipality in Illinois for which

  Defendants CREAMER, KENNETH MULDROW, OFFICER WADE INGRAM,

  and UNKNOWN OFFICERS serve as police officers. CITY OF MARKHAM is

  responsible for the training and supervision of Defendants CREAMER,

  KENNETH MULDROW, WADE INGRAM, and UNKNOWN OFFICERS. CITY
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  OF MARKHAM has established or delegated to Defendant WADE INGRAM the

  responsibility for establishing and implementing policies, practices, procedures,

  and customs used by law enforcement officers employed by City of Markham

  regarding lawful grounds for an investigatory stop, search, and seizure. CITY OF

  MARKHAM was responsible for establishing an unconstitutional and illegal policy

  of having citizen’s vehicles towed without issuing tickets specifying the nature of

  the alleged violation, dispute procedures, and the rights of the accused.

                                    IV. FACTS

  9.     On March 12, 2010, Plaintiff was driving his 1998 Ford Taurus near

  Adriannes night club, 164th & Dixie Highway, Markham, IL at around 12:00 A.M..

  10.    On March 13, 2010, at around 12:00 A.M., near Adriannes night club,

  OFFICERS CREAMER, MULDROW, and UNKNOWN OFFICERS drove their

  police cars behind Plaintiff, turned their lights on, and stopped Plaintiff’s vehicle.

  11.    The officers falsely accused Plaintiff of possession of alcohol.

  12.    Plaintiff never possessed any alcohol.

  13.    OFFICERS       CREAMER,        MULDROW,       and    UNKNOWN        OFFICERS

  searched Plaintiff and his vehicle.

  14.    Stat Towing towed Plaintiff’s vehicle at the request of the Markham police

  officers.

  15.    Plaintiff was never charged with any crime.

  16.    Plaintiff paid CITY OF MARKHAM $550.00 to retrieve his vehicle from the

  tow yard.
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  17.    Plaintiff suffered anguish and emotional distress as a result of the unlawful

  stop and unreasonable search and seizure.

  18.    Plaintiff suffered damages of $550.00 for the tow. CITY OF MARKHAM

  did not refund to Plaintiff $550.00.

  19.    The Officers’ actions resulted in the violations of the Plaintiff’s civil rights

  including the right to be free from unreasonable search and seizure. The actions

  of the Defendants further violated Plaintiff’s right to due process.

  20.    Defendants      OFFICERS        CREAMER,       MULDROW,        and    UNKNOWN

  OFFICERS had no adequate training regarding an investigatory stop, search,

  and seizure.

  21.    Defendants OFFICERS CREAMER, MULDROW, WADE INGRAM,

  UNKNOWN OFFICERS, and CITY OF MARKHAM were aware or should have

  been aware that conducting an investigatory stop, search, and seizure requires

  special procedures, policies, and customs to be used so as to not unnecessarily

  harm them, or members of the public. The failure to promulgate and implement

  such procedures, policies, or customs caused the perpetuation of procedures,

  policies or customs leading directly to the unlawful stop of the Plaintiff, seizure of

  his car, and the violation of Plaintiff’s constitutional rights.

  22.    Each of the Defendants, individually, and in concert with the others, acted

  under color of law in his/their official capacity, to deprive Plaintiffs of their rights to

  freedom from illegal searches and seizure of their persons, papers, and effects

  and their rights to freedom from unlawful detention and imprisonment. All of
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  these rights are secured to Plaintiffs by the Fourth and Fourteenth Amendments

  to the Constitution of the United States and by 42 U.S.C.A. §§ 1983 and 1988.

  23.    The Defendants WADE INGRAM and the CITY OF MARKHAM, failed to

  adequately supervise the Defendants OFFICERS CREAMER, KENNY, and

  UNKNOWN OFFICERS.



                          V.     CAUSES OF ACTION

                                    COUNT I

         Violation of Civil Rights Pursuant to Title 42 U.S.C. §1983
                             (General Allegations)

  24.    Plaintiffs reallege and incorporate herein by reference the allegations set

  forth in paragraphs 1-23 of this Complaint.

  25.    In committing the acts complained of herein, Defendants acted under color

  of state law to deprive Plaintiffs of certain constitutionally protected rights under

  the Fourth, Fifth, and Fourteenth Amendments to the Constitution of the United

  States including, but not limited to: a) the right to be free from unreasonable

  searches and seizures; b) the right not to be deprived of liberty without due

  process of law; c) and the right not to be deprived of property without due

  process of law.

  26.    In violating Plaintiffs’ rights as set forth above and other rights that will be

  proven at trial, Defendants acted under color of state and conducted an

  unauthorized, warrantless illegal search and seizure of Plaintiff and his vehicle.

  The illegal and warrantless search, seizure, and detention violated Plaintiff’s
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  rights under the Fourth, Fifth and Fourteenth Amendments to the Constitution of

  the United States.

  27.     As a direct and proximate result of the violation of their constitutional rights

  by the Defendants, Plaintiff suffered general and special damages as alleged in

  this Complaint and is entitled to relief under 42 U.S.C §1983.

  28.     The conduct of Defendants was willful, malicious, oppressive and/or

  reckless, and was of such a nature that punitive damages should be imposed in

  an amount commensurate with the wrongful acts alleged herein.

                                         COUNT II

              Violation of Civil Rights Pursuant to Title 42 U.S.C. §1983
        (Failure to Implement Appropriate Policies, Customs and Practices)

  24.     Plaintiff realleges and incorporates herein by reference the allegations set

  forth in paragraphs 1-23 of this Complaint.. Defendant WADE INGRAM, in his

  capacity as Chief of Police of the Markham Police Department in Markham, IL

  and the Defendant CITY OF MARKHAM implicitly or explicitly adopted and

  implemented careless and reckless policies, customs, or practices, that included,

  among other things, of allowing employees of the Markham Police Department to

  stop, search, investigate, and detain persons without proper training. Defendants

  WADE INGRAM and CITY OF MARKHAM furthermore implicitly or explicitly

  adopted and implemented careless and reckless policies, customs, or practices,

  that included, among other things, of allowing employees of the Markham Police

  Department to seize vehicles without proper training.

  25. Defendant WADE INGRAM, in his capacity as Chief of Police of the Markham

  Police Department, IL and the Defendant CITY OF MARKHAM implicitly or
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  explicitly adopted and implemented a careless and reckless policy, custom, or

  practice of allowing employees of the Markham Police Department to detain

  persons and seize vehicles when less extreme alternatives existed

  26. The failure of the Chief of Police WADE INGRAM and the CITY OF

  MARKHAM to adequately train and supervise the Defendants OFFICERS

  CREAMER, KENNY, and UNKNOWN OFFICERS, amounts to deliberate

  indifference to the rights of the Plaintiff to be free from unlawful stops, and

  unreasonable searches and seizures under the Fourth, Fifth, and Fourteenth

  Amendments to the Constitution of the United States.

  27. The failure of the Chief of Police WADE INGRAM and the City OF MARKHAM

  to adequately train and supervise Defendants OFFICERS CREAMER,

  MULDROW, and UNKNOWN OFFICERS amounts to deliberate indifference to

  the rights of the Plaintiff to be free from unreasonable seizures under the Fourth,

  Fifth, and Fourteenth Amendments to the Constitution of the United States.

  28. As a result of this deliberate indifference to the Plaintiff’s rights, the Plaintiff

  suffered general and special damages as stated in this Complaint and is entitled

  to relief under 42 U.S.C. §1983.

  29. In committing the acts complained of herein, Defendants acted under color of

  law to deprive Plaintiff as alleged herein of certain constitutionally protected

  rights including, but not limited to: a) the right to be free from unreasonable

  searches and seizures; b) the right not to be deprived of liberty without due

  process of law; c) and the right not to be deprived of property without due

  process of law.
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                                        COUNT III

            Violation of Civil Rights Pursuant to Title 42 U.S.C. §1983
                                   (False Arrest)

  24. Plaintiffs reallege and incorporate herein by reference the allegations set forth

  in paragraphs 1-23 of this Complaint.

  25. In committing the acts complained of herein, Defendants OFFICERS

  CREAMER, MULDROW, and UNKNOWN OFFICERS acted under color of law

  by falsely arresting and detaining the Plaintiff with no basis in fact or law to do so.

  In violating Plaintiff’s right to be free from false arrest, the Defendants violated

  Plaintiff’s rights under the Fourth, Fifth and Fourteenth Amendments to the

  Constitution of the United States.

  26. As a direct and proximate result of the violation of their constitutional right to

  be free from false arrest by the Defendants, Plaintiff suffered serious personal

  injuries and special damages as alleged in this Complaint and are entitled to

  relief under 42 U.S.C. §1983.

                                        COUNT IV

            Violation of Civil Rights Pursuant to Title 42 U.S.C. §1983
             (Deprivation of Property Without Due Process of Law)

  24. Plaintiff realleges and incorporates herein by reference the allegations set

  forth in paragraphs 1-23 of this Complaint.

  25. Defendants OFFICER CREAMER, MULDROW, and UNKNOWN OFFICERS,

  intentionally violated the civil rights of the Plaintiff by their malicious and wanton

  disregard for Plaintiff’s property rights. The towing of Plaintiff’s vehicle amounted
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   to the deprivation of property in violation of the Fifth and Fourteenth

   Amendments.

   26. By causing the Plaintiff’s vehicle to be towed, Defendants actually and

   proximately inflicted an outrageous violation of constitutional rights upon the

   Plaintiff whch Defendants are liable and Plaintiff seeks damages therefore.

   27. Defendants     OFFICERS       CREAMER,        MULDROW,         and    UNKNOWN

   OFFICERS, either with the specific intent to violate the Plaintiff’s civil rights or

   with a reckless disregard of the probability of causing that violation, had Plaintiff’s

   vehicle towed causing severe emotional distress to the Plaintiff, and Plaintiff is

   entitled to compensatory and punitive damages therefore.

                                         COUNT V

                       (State Common Law False Imprisonment)

   24. Plaintiff realleges and incorporates herein by reference the allegations set

   forth in paragraphs 1-23 of this Complaint.

   25. Plaintiff avers that the Defendants breached a duty of care owed to Plaintiff,

   so as not to deprive them of their personal liberty, by intentionally restraining or

   detaining Plaintiffs without just cause and without order from a court.

   26. Plaintiff avers that the Defendants, without probable cause, wrongfully and

   unlawfully detained and restrained Plaintiff against his will.

   27. At no time during the detainment did Plaintiff resist or attempt to resist the

   Defendant officers, but were fully cooperating with the orders of the Defendants.

   28. Plaintiff avers that the Defendants are liable to him for false imprisonment.
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       29. As a direct and proximate result of the false imprisonment by the Defendants,

       Plaintiff suffered serious emotional distress, and lost the use of his vehicle.



                                       PRAYERS FOR RELIEF

       WHEREFORE, the above premises considered, Plaintiff demands:

That judgment be rendered in favor of the Plaintiffs and against the Defendants on all

causes of action asserted herein.

       1.      That Plaintiff be awarded those damages to which it may appear he is

       entitled by the proof submitted in this cause for his physical and mental pain and

       suffering, both past and future; permanent injury and disability; loss of enjoyment

       of life; loss of use of property, and medical and psychological expenses, both

       past and future.

       2.      That Plaintiff be awarded punitive damages against the Defendants.

       3.      That Plaintiff be awarded reasonable expenses incurred in this litigation,

       including reasonable attorney and expert fees, pursuant to 42 U.S.C. §1988 (b)

       and (c).

       4.      That the Plaintiff receives any other further and general relief to which it

       may appear he is entitled.

       5.      A jury for the trial of this matter.

       6.      An amount in excess of Fifty Thousand Dollars ($50,000)

s/ Michael G. Kelly

Michael G. Kelly, Esq.

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